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                                                                                           Da.v. Co. Chancery Court
               IN THE CHANCERY COURT OF DAVIDSON COUNTY, TENNESSEt:


     STEPHEN MICHAEL WEST,                        )
                                                  )
                                                                                             ·~
                                                                                                       ....
                                                                                                       =
                     Plaintiff


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     BILLY RAY IRICK,                             )
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                     PlaintifT/lntervener         )              DEATH PENA                             _,,    --~1



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     v.
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                                                  )
                                                                 Chancellor Bonnyma  ~:;'. :·
                                                                 EXECUTION SCHEDULJID;
                                                                 November 30, 2010 ~ '
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                                                                                                        ::s:
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                                                                                                        en
                                                                                                           .. ;-:;
     GAYLE RAY, in her official capacity as       )
     Tennessee's Commissioner of                  )
     Correction, et al,                           )
                                                  )
                     Defendants                   )


                         ORDER GRANTING DECLARATORY JUDGMENT

              This matter comes before the Court upon the Plaintiffs Amended Complaint for

     Declaratory Judgment and Injunctive Relief; his Motion for Temporary Injunction; and pursuant

     to the November 6, 20 I 0, order of the Supreme Court of Tennessee in Case No.

     M2010-02275-SC-Rl I-CV, to, "tak[e] proof and issu[e] a declaratory judgment on the issue of

     whether Tennessee's three-drug protocol constitutes cruel and unusual punishment because the

     manner in which the sodium thiopental is prepared and administered fails to produce

     unconsciousness or anesthesia prior to the administration of the other two drugs." The Court

     subsequently granted without objection the motion to intervene of Plaintiffflntervener Billy Ray

     Irick.

              On November 19-20, 2010, an evidentiary hearing was held in this matter. After

     weighing the evidence presented therein and considering the arguments of counsel, the Court




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    issued its bench ruling, a certified copy of which is anached hereto. For the reasons stated in its

    bench ruling, which are hereby fully incorporated herein, the Court finds and declares that

    Tennessee's three-drug protocol violates the prohibition against cruel and unusual punishment

    contained in Article I, section 16 of the Tennessee Constitution and the Eighth Amendment of

    the United States Constitution.

           Pursuant to TENN. R. APP. P. 9(b), the Court finds that this maner is of great public

    importance and that review upon final judgment will be ineffective.

           IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that Tennessee's

    three-drug protocol violates the prohibition against cruel and unusual punishment contained in

    Article I, section 16 of the Tennessee Constitution and the Eighth Amendment of the United

    States Constitution.




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                                                  Chancellor, Part 1

                                                  Entered:---------------




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        APPROVED FOR ENTRY:


                       111.
        Stephen . Kissinger
        Dana Hansen Chavis
        Stephen A. Ferrell
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                                             {3}

         Case 3:18-cv-01234 Document 1-3 Filed 11/02/18 Page 3 of 45 PageID #: 227
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                                     CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing has been sent via email and facsimile to:

                  Mark A. Hudson
                  Senior Counsel
                  Office of Attorney General
                  425 Fifth Avenue North
                  P. 0. Box 20207
                  Nashville, TN 37243
                  Fax number: 6 I 5-532-2541


    this 22nd day of November, 2010.




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                                                                    Attachment 2
            IN THE CHANCERY COURT OF DAVIDSON COUNTY,
                            TENNESSEE

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                                                                            ' ,, '
      STEPHEN MICHAEL WEST,                 )
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                                            )                                        "
             Plaintiff,                     )
                                            )
                                                                    \
      vs.                                   ) No. 10-1675-I
                                            )
                                            )
                                            )
      GAYLE RAY, In her official )
      capacity as Tennessee       )
      Commissioner of Corrections,)
      et al.,                     )
                                                 ORIGINAL
                                            )
                                            )
            Defendants.                     )
      ~~~~~~~~~~~~~~~->




•                            COURT'S RULING

                BE IT REMEMBERED that the
      above-captioned cause came on for hearing this,
      the 19th day of November, 2010, in the above
      Court, before the Honorable Claudia C. Bonnyman,
      Judge presiding, when and where the following
      proceedings were had, to wit:




                        VOWELL & JENNINGS, INC.
                       Court Reporting Services
                    207 Washington Square Building
                       214 Second Avenue North
                      Nashville, Tennessee 37201
                             (615) 256-1935




                      Vowell & Jennings, Inc. (615) 256-1935


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    2

    3
           FOR PLAINTIFF:
                                   APPEARANCES




    4
                        STEPHEN M. KISSINGER
    5                   STEPHEN FERRELL
                        DANA HANSEN CHAVIS
     6                  FEDERAL DEFENDER SERVICES OF EASTERN
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    7                   800 Gay Street
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     8                  Knoxville, Tennessee 37929 .
                        Telephone:   (865) 637-7979 ·
     9                  Email:

    10     FOR PLAINTIFF:

    11
                         ROGER W. DICKSON
    12                   MILLER & MARTIN, LLP


•   13
    14

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                         832 Georgia Avenue
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                         Chattanooga, Tennessee 37402
                         Telephone:
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                                      (423) 756-8330
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    16      FOR INTERVEINING THIRD-PARTY PLAINTIFF; BILLY

    17      IRICK:
    18

    19                   HOWELL CLEMENTS
                         CLEMENTS & CROSS
    20                   Monteagle Off ice
                         1020 West Main Street
    21                   P.O. Box 99
                         Monteagle, Tennessee 37356
    22                   Telephone:  (931) 924-2060

    23




                           Vowell & Jennings, Inc. (615) 256-1935                2


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    2
                            APPEARANCES CONTINUED


           FOR STATE OF TENNESSEE:
    3
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    4               MARK HUDSON
                     STATE OF TENNESSEE ATTORNEY GENERAL
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           Mark.Hudson@ag.tn.gov
     8
     9     COURT REPORTING FIRM:

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    12                  Suite 207


•   13
    14

    15
                        Nashville, Tennessee 37201
                        Office:   (615) 256-1935




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     3                              * * * * * *
     4                       THE COURT:      Please be seated.
     5     Lawyers and citizens and court reporter, I
     6     appreciate your patience.            I know this is not
     7     easy on people to stay this late.
     8                       As I stated before this is the
     9     Court's bench ruling, and a bench ruling is
    10     sometimes pretty rough and this one will be
    11     somewhat rough, but I'm hoping and trusting that




•
    12     this will be an opinion that will be
    13     understandable and will be useful.
    14                       The statement of the case: The

    15     plaintiff is an inmate condemned to be executed
    16     by order of Tennessee's Supreme Court on
    17     November 30, 2010 because he murdered
    18     15-year-old Sheila Romines and her mother Wanda
    19     Romines.      He will be executed by the default
    20     method of legal injection -- lethal injection.

    21                       The petitioner filed suit in the
    22     Davidson County Chancery Court seeking
    23     declaratory judgment that the method of his
    24     execution is wrongful under the federal and


•   25     state constitutions.          An additional plaintiff

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            Mr. Irick was allowed to intervene in the case
            because he faces execution on December 7, 2010
     3      and he seeks the same relief against the same
     4      defendants.
     5                       As in all situations involving

     6      capital punishment the condemned plaintiff, or
     7      inmate, has committed a heinous crime.               The
     8      Tennessee legislature and many other state
     9      legislatures have passed laws requiring that
    10      when crimes are determined to be sufficiently
    11      horrific, the ultimately penalty, death, will be

    12      the punishment.        The Court may interfere only


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            may only interfere with that process that
            judgment and that penalty when that process runs
            afoul of the Federal and State Constitutions.
    16                       The narrow focus of this Court is

    17      upon Tennessee's 2007 lethal drug execution
    18      method under its protocol and whether the
    19      protocol violates the constitutional prohibition
    20      against cruel and unusual punishments.               And as
    21      for the issues in this case, the plaintiff
    22      contends that the State's current protocol for
    23      execution does not render the inmate unconscious
    24      before the second and third lethal drugs are


•   25      administered, and for that reason the punishment
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            for execution under the 2007 protocol is cruel
            and unusual punishment.

     3                       The plaintiff argues that all three
     4      drugs are separately intended to kill the
     5      condemned man.       The plaintiff asserts that the
     6      first drug is to render the person unconscious.
     7      The second drug is to paralyze the lungs,

     8      diaphragm, and the entire body, and the third
     9      drug is to stop the heart.           According to the
    10      plaintiff, the first drug, sodium thiopental,
    11      does not function as represented by the State.
    12      Instead, says the plaintiff, sodium thiopental


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    15
            is an ultra fast acting drug, which cannot be
            relied upon to keep the condemned man fully
            unconscious or to render him dead before the
    16      second drug, a paralyzing drug, begins its
    17      effect of suffocation.
    18                       The plaintiff asserts that although

    19      the second    drul;~curonium          bromide, is
    20      administered ~event the condemned man from
    21     moving or breathing or calling out, it is
    22      actually the fatal element under the Tennessee
    23      protocol and death is therefore by suffocation.
    24      The plaintiff argues that the autopsy reports

    25      and toxicology reports show postmortem serum
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            levels of sodium thiopental from three
            executions in Tennessee using the 2007 protocol,

     3      and they are proof that the sodium thiopental
     4      injection did not and does not keep the

     5      condemned man unconscious, and in fact, says the
     6      plaintiff the three executed men Henley,
     7      Workman, and Coe were conscious, were aware of
     8      and experienced their deaths by suffocation.
     9                       Further says the plaintiff, the

    10      State personnel who administered the IVs and the
    11      personnel who were executioners are not trained




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    12      adequately nor are they asked to specifically
    13      insure the prisoner is unconscious.              According
    14      to the plaintiff, Tennessee's 2007 protocol has
    15      no safe guards or procedures to verify that the

    16      prisoner is unconscious during the injection of
    17      the pancuronium bromide and potassium chloride,
    18      the third drug.        The plaintiff reasons through
    19      his expert, Dr. Lubarsky, that the data
    20      collected and studied so far, although limited

    21      and imperfect, make available postmortem serum

    22      thiopental levels as the best evidence to show
    23      the inmate's consciousness, and this postmortem
    24      data does show such consciousness when the


•   25      second and third drugs are injected -- when the
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            second drug is injected.
                             The plaintiff does not proffer an

     3      alternative to this cruel type of execution, but
     4      instead looks at other State's protocols and
     5      other State's efforts to reach humane execution.

     6      The State has limited its contentions to those
     7      which have been identified by the Supreme Court

     8      of the United States and by the Tennessee
     9      Supreme Court.       The State contends that our
    10      federal courts have decided a three-drug lethal
    11      injection protocol is consistent with standards

    12      of decency.      The State asserts that Tennessee


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            shares its three-drug lethal injection method
            with the majority of the states in which capital
            punishment is allowed.
    16                       The State asserts that
    17      Dr . Lubarsky's study focuses upon postmortem

    18      serum levels of sodium thiopental to establish

    19      that there was consciousness at the time of
    20      execution but that the study has been rebutted
    21      by sufficient questions that the study does not
    22      have weight or legitimacy.           In fact, says the

    23      State, no Court has given the study weight.                 The
    24      State argues it is the plaintiff's burden to


•   25      show that the amount of sodium thiopental
                           Vowell & Jennings, Inc. (615) 256-1935                8


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            mandated in the protocol, which is 5 grams
            creates an objectively intolerable risk of harm

     3      or suffering, and this the plaintiff cannot
     4      show.    The State reasons that the expert medical
     5      examiner, Dr. Li, is an autopsy expert and knows
     6      better than the plaintiff's expert what occurs
     7      in the blood after death.
     8                       The issues for the Court to decide

     9      are:    One, whether the current amount and
    10      concentration of sodium thiopental mandated by
    11      Tennessee's 2007 lethal injection protocol are




•
    12      insufficient to insure unconsciousness so as to
    13      create an objectively intolerable risk of severe
    14      suffering or pain during the execution.                 Two, as

    15      a factual matter, the Court is to decide at what
    16      level -- what level of sodium thiopental is
    17      sufficient to insure unconsciousness so as to
    18      negate any objectively intolerable risk of
    19      severe suffering or pain during the             execution~
    20      Number three, is there a feasible and readily

    21      available alternative procedure which could be
    22      supplied at execution to insure unconsciousness
    23      and negate any      objective~y,,.,.\ntolerable     risk of
    24      severe suffering or       pain.~d,         Four, did the


•   25      State refuse to adopt or adapt to this
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            alternative, and without justification adhere to

            its current     method~
     3                       And as for the swmnary -- a very
     4      brief swmnary of the decision, the Court find

     5      the current protocol for execution by lethal
     6      injection execution is cruel and usual because
     7      the plaintiff has carried its burden to show

     8      that the protocol allows suffocation                 death by
     9      suffocation while the prisoner is conscious.

    10                       And as for the facts that the Court
    11      is finding as a result of the evidentiary




•
    12      hearing, Number 1, Tennessee's 2007 lethal

    13      injection protocol.         Tennessee's 2007 protocol
    14      requires the administration of three drugs:
    15      sodium thiopental, pancuronium bromide, and
    16      potassium chloride through an intravenous

    17      catheter in a rapid -- by use of 11 large and
    18      rapid bolus injections.          Before the injection
    19      process begins, according to the protocol,
    20      catheters are inserted in both of the inmate's
    21      arms by two technicians.           Once the lines have

    22      been established, the technicians leave the

    23      execution chamber and remain in an area where
    24      they cannot see the inmate .


•   25                       The only person with the inmate in
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            the execution chamber at the time the drugs are
            administered is the warden of River Bend Maximum
     3      Security Institution, the site of the execution
     4      apparatus.      The -- the need for two catheters is
     5      that the first catheter is used for the

     6      injection, and the second catheter is a backup
     7      in case the first one fails.            The executioner
     8      first injects 5 grams of sodium thiopental,
     9      which the protocol states is disbursed into four
    10      syringes at a concentration of 2.5 percent with
    11      1.25 grams of the drug in each syringe.                 Sodium




•
    12      thiopental is a rapid acting barbiturate
    13      commonly used in anesthesia.            In the past,
    14      sodium thiopental was administered in small
    15      amounts during surgery, before surgery to induce
    16      unconsciousness rapidly while other measures

    17      were then used to deepen the level of

    18      unconsciousness.        So~i{ct)   thiopental is now
    19      used -- is not      commo~ed         in surgery at this
    20      time.

    21                       Continuing on with the protocol,

    22      following a saline flush,          the executioner

    23      injects 100 milligrams of pancuronium bromide
    24      into the IV lines.         Pancuronium bromide is a


•   25      muscle paralytic.        The drug completely paralyzes
                           Vowell & Jennings, Inc. (615) 256-1935              11

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            the diaphragm, such that the prisoner cannot
            breathe.     By itself, 100 milligrams of

     3      pancuronium bromide would be sufficient to kill
     4      a person by suffocation.           Pancuronium bromide
     5      eliminates the involuntary muscle movements that
     6      could be caused by the operation of the third
     7      drug, potassium chloride, in the prisoner's

     8      body.
     9                       If pancuronium bromide were
    10      injected solely on its own, the prisoner would
    11      experience and be aware of his death by
    12      suffocation.       Following a second saline flush,


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    15
            the executioner injects a third and final drug,
            potassium chloride in the amount of 200
            milligrams -- 200 MEQ.          The purpose of this drug
    16      is to cause cardiac arrest.            If conscious, the
    17      inmate would suffer a burning pain throughout
    18      his body when the potassium chloride is

    19      injected.     And I believe the parties agree about

    20      this and I think they also agree that if
    21      pancuronium bromide were given by itself the
    22      death would be by conscious suffocation.                I
    23      don't think there is a dispute about that.                  Now,
    24      the plaintiff does not focus on the third drug


•   25      in this lawsuit because the plaintiff
                           Vowell & Jennings, Inc. (615) 256-1935               12


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            understands that the third drug is redundant and
            the prisoner has already died by suffocation.

     3                       In this case, the plaintiff has

     4      carried his burden to show that the first

     5      injection of 5 grams of sodium thiopental
     6      followed by rapid injection of the second drug

     7      will result in the inmate's consciousness during
     8      suffocation.       And as for further facts in the
     9      case and the medical proof, both parties called

    10      medical experts.        The Court found that both

    11      experts could assist the finder of fact because




•
    12      the issues in the case focus upon chemical
    13      reaction to drugs in the body before and after
    14      death.

    15                       In compliance with Rule 702 of the

    16      rules of evidence both experts are medical

    17      doctors.     Dr. Lubarsky called by the plaintiff
    18      is a board-certified anesthesiologist, who is
    19      both a clinician and a prolific academic

    20      researcher and published writer. Dr. Lubarsky
                                                    L _ o ,,,_. (($
    21      has been a tenured professor on medical ~-'r

    22      £actoLiea at excellent medical schools.                 He is a

    23      teacher accustomed to providing explanations in
    24      the language of beginning and in the language of


•   25      experienced medical students.            It appears to the
                           Vowell & Jennings, Inc. (615) 256-1935               13


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     3
            Court ~nan expert anesthesiologist who is
                 a..~
            also~t      cher is an ideal expert for the

            evaluation of consciousness and unconsciousness.

     4                       Dr. Li, a senior assistant medical

     5      examiner contracted in Metro Government has also

     6      been a teacher in the past.            He began his

     7      medical education in his native China and then

     8      continued with his residency in this country.

     9      There is no reason to doubt his expertise based

    10      upon his education and background.              It appears

    11      to the Court that a medical examiner has                  ~

    12      experience and knowledge about            &liiuiealit~
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            toxicology, pathology, pharmacology and other

            matters in order to opine about the cause of

            death and the manner of death.

    16                       And as for the medical proof, the

    17      plaintiff carried his burden to show that the

    18      Tennessee protocol does not insure that the

    19      prisoner is unconscious before the paralyzing

    20      drug; that is, the second becomes active -- is

    21      injected and becomes active in the body.                 The

    22      petitioner, or plaintiff, has           neve~O\ceded

    23      that 5 grams of sodium thiopental ~es

    24      unconsciousness or(!.nsures unconsciousness by


•   25      death for any particular person because there
                            Vowell & Jennings, Inc. (615) 256-1935              14


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            are many variables which prevent such a safe

            prediction which would prevent conscious death
     3      of suffocation.
     4                        Dr. Lubarsky first explained that
     5      breathing is a primary survival impetus for
     6      humans.      It is extremely disturbing to a patient
     7      when the patient is unable to get air.                    Not to

     e      be too simplistic, but life is about getting a
     9      breath of air.         The body is tuned to need and
    10      get air.      It is a primary survival issue.                There
    11      is great suffering and pain if a patient were to
    12      suffocate from lack of air.                  Through


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            Dr. Lubarsky, the plaintiff was able to show
            that because a paralyzing drug is used soon

            after.sodium thiopental is                 in~eted,    no one can
    16
                '1' c
            tell~if
                         ' ' - " " - ; , ....... 1-
                        the prisoner is consc
                                                      ~ t(3
                                                              s or unconscious
    17      and this is a tragedy given execution by
    18      injection.

    19                        These factual statements made by
    20      Dr. Lubarsky and found to be accurate by the
    21      Court have increased the Court's comprehension
    22      of the anticipated severity of the suffering.
    23      Dr. Lubarsky explained the study that he
    24      authored, which was published in                   t~?:~ritish



•   25      journal Lancet.          The study         exam~~evel
                            Vowell & Jennings, Inc. (615) 256-1935
                                                                         of
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            sodium thiopental in the blood serum through
            autopsy, which of course, is after the prisoner

     3      has been executed.         Dr. Lubarsky explained that
     4      he and his co-authors had a difficult time
     5      getting data on executed prisoners.              But they
     6      did get data and they did explain -- they did
     7      explain through their data and the study that
     8      the level of sodium thiopental in the blood
     9      serum, postmortem sometimes measures higher than
    10      expected and somewhat lower but is fairly
    11      equivalent to the level of sodium tbiopental at

                                     execution~ause
•
    12      death; that is, at                               this kind
    13      of chemical is stable in the blood and does not
    14      naturally increase or decrease much.
    15                       He admits that his study published
    16      in the Lancet is not perfect, and be concedes
    17      they could have used more data but they could
    18      not get the data.        Dr. Lubarsky makes the very
    19      good point that after this article was peer
    20      reviewed and published, it was challenged.                 But

    21      following the author's response to the
    22      challenges, the critics backed off and have not
    23      countered with further criticism, nor have there
    24      been other studies .


•   25                       The Court finds that Dr. Lubarsky's
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     3
            testimony is convincing, and his study is
            convincing that the level of sodium thiopental

            is used by different people in different ways,
     4      and the reactions are variable -- are very

     5      variable.      The study shows the amount of sodium

     6      thiopental in the blood serum of prisoners

     7      across the country were lower than one would

     8      hope would be the case because the level was not
     9      high enough to insure that the prisoners were

    10      unconscious.

    11                       Dr. Lubarsky studied and reported

            upon the autopsies of three Tennessee prisoners


•
    12
    13      who were executed using the protocol in
    14      Tennessee that is the issue in this case.                They

    15      were injected with 5 grams of sodium thiopental

    16      as far as anyone is aware.           The level of this

    17      drug in the blood measured through the

    18      autopsies, however, shows the three men did not

    19      have sufficient amounts of this drug to insure

    20      unconsciousness.        Instead their levels were

    21      10.2 milligrams per liter for Mr. Coe, 18.9

    22      milligrams per liter in the Workman's case, and

    23      8.31 milligrams per liter from the Henley

    24      autopsy.     His research shows that with 50


•   25      milligrams per liter, half of the persons would
                           Vowell & Jennings, Inc. (615) 256-1935              17


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            be conscious at that time and half would not be

            conscious.

                             As for medical proof, continued,

     4      Dr. Li opined that he believed that Mr. Coe,

     5      Mr. Workman, Mr. Henley were unconscious at the

     6      time of their deaths.          He based his opinion in

     7      part on Winek's drug and chemical blood level

     8      data.    This is Trial Exhibit 27.           This chart

     9      shows levels for therapeutic or normal and then

    10      for toxic and lethal.          The postmortem levels of

    11      sodium thiopental in previous Tennessee executed

    12      inmates sometimes fell within the range for


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    15
            therapeutic or normal, as well as falling within

            the range for toxic or lethal.            When asked to

            explain why Mr. Workman's postmortem sodium

    16      thiopental level was sufficiently higher

    17      significantly higher than Mr. Coe•s and

    18      Mr. Henley's even though his autopsy had not

    19      been performed until ten days after his

    20      execution and the other inmate's autopsies had

    21      been performed seven hours after their

    22      executions approximately, Dr. Li stated that

    23      every human body is different and that these

    24      differences have an effect on the drug level .


•   25                       He also states that no single
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            member such as the one -- no single number such
            as the one used in Winek's can be used to
     3      explain or calculate what the drug level would

     4      have been at the time of the inmate's death.
     5      Dr. Li stated that according to general theory,
     6      levels of medication found in the blood
     7      decreased postmortem but that this would depend
     8      upon the medication.          The two experts agree --
     9      appear to    agr~\that       the levels of sodium
    10      thiopental~~be
                        A-
                                      used in the body       de~1:.e
    11      upon many variables.          This is a complex study,




•
    12      and Dr. Li conceded or stated that he would need
    13      to draw upon many disciplines and have many
    14      factors to analyze before concluding how a
    15      particular medication would act in the body
    16      predeath and      po}rf~death.

    17                        ~"'e        State called Mr. Voorhies
    18      as a witness.        He is a department of corrections
    19      experienced administrator from the State of
    20      Ohio.    He testified about nine executions at

    21     which he had been present)where 5 grams of
    22      sodium thiopental were injected.              The fact that
    23      5 grams of sodium thiopental is fatal or appear
    24      to be fatal when allowed          t~ ~~k     over 11


•   25     minutes, however, is not dtp~tive of the
                             Vowell & Jennings, Inc. (615) 256-1935            19


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            three-drug protocol issue which is presented
            here.
     3                        And as for facts regarding the
     4      failure to check for consciousness, the Florida
     5      Department of Corrections which adopted new

     6      lethal injection procedure effective for
     7      executions after May 9, 2007 included the
     8      following procedure to iDDllediately follow the
     9      sodium thJ.?pental injections:            ~a    quoeee ac this
                    ,~   ~
    10      pgina, At this point a member of the execution

    11      team will assess whether the inmate is




•
    12      unconscious.        The warden must determine after
    13      consultation that the inmate is indeed
    14      unconscious.        Until the inmate is unconscious
    15      and the warden has ordered the executioners to
    16      continu~:::?-he     executioner shall not proceed to
    17      Step 5,      ~e     !fQQta.   And this is from Florida

    18      protocol hearing exhibit              hearing and this is

    19      exhibit -- Trial Exhibit 24 Page               a.
    20                        Proceeding on with the facts --
    21      findings of fact under the subject, Failure to
    22      check for consciousness, the Court finds that in

    23      California's lethal injection protocol and
    24      review, which was issued on May 15, 2007, the


•   25      California Department of Corrections review team
                             Vowell & Jennings, Inc. (615) 256-1935            20

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            pointed out that earlier versions of this
            protocol made no provisions of any objective

     3      assessment of consciousness of the condemned
     4      inmate following administration of the sodium
     5      thiopental, and before the administration of the
     6      other chemicals.
     7                       The State of California lethal
     8      injection protocol review.           The California
     9      committee noted that there are reliable but
    10      relatively uncomplicated methods for effectively
    11      assessing consciousness that have been
    12      incorporated into California lethal injection


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            protocol.      Among them are talking to and gently
            shaking the inmate as well as lightly brushing
            eyelash.     For that reason, changes were made to
    16      the California protocol to place staff in close
    17      proximity to the condemned inmate throughout the
    18      execution to assess and confirm the condemned
    19      inmate is unconscious prior to and during the

    20      administration of the pancuronium bromide and

    21      the potassium chloride.          This is from Trial
    22      Exhibit Number 25, Page -- I'm sorry -- Hearing
    23      Exhibit 25 Page 20.         Number 25, Page 20.
    24                       The Tennessee protocol committee


•   25      appears to have been well aware of the necessity
                           Vowell & Jennings, Inc. (615) 256-1935              21

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            for checking consciousness under the three-drug

            protocol option.        In a document prepared by the

     3      chair of the committee, Julian Davis, that

     4      listed the pros and cons of the various options

     5      considered by the committee, the following
     6      phrase appears as "con" under the three-drug
     7      protocol:     Would likely need to add a method of

     8      ascertaining consciousness after sodium

     9      thiopental.      Hearing collective Exhibit Number 3

    10      former trial Exhibit Number 7.             The April 19,

    11      2007, minutes of the Tennessee Protocol




•
    12      Committee state that Deputy Commissioner Ray
    13      also mentioned having something that would
    14      assure the unconsciousness of the inmate during
    15      the execution procedure.           In addition, those

    16      minutes reflect a conversation between Warden
    17      Bell and Physician A in which Warden Bell
    18      inquired about what would indicate the inmate is
    19      unconscious after the        f~t     drug and a saline
    20      flush are given, ia       pa~Ghree          drug protoco1,j
    21      <U.ese paE&D, so we can give the signal to go
    22      ahead with the other drugs.           The physician

    23      suggested looking at the inmate's eyes but also
    24      stated that constricted pupils are not a


•   25      definitive sign of unconsciousness.              Therefore,
                           Vowell & Jennings, Inc. (615) 256-1935              22


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            he also advised checking for an eyelash response
            by brushing a finger across them, lifting up the

     3      person's arm and a pin prick or pinching the
     4      nipples.     This Hearing Exhibit Collective 3,
     5      former Trial Exhibit 29.

     6                       Ms. Gail Ray's notes from that same
     7      meeting include the sentence:            What if any
     8      safeguards to insure a person is appropriately
     9      anesthetized, with an arrow pointing toward any
    10      monitoring by medicine, medical personnel,
    11      question.     Hearing Exhibit Collective 3, former

    12      trial Exhibit 31 at Page 30.            Mr. Elkins,


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            counselor to the Governor, verified that he had
            taken notes concerning a telephone conversation
           with Commissioner Little on April 20, 2007, in
    16     which he had written ask them to introduce a

    17      step to explicitly go over and check level of
    18      sedation.     Hearing Exhibit Collective Number 3;
    19      former Trial Exhibit 5 at Page 7.
    20                       And also from Harbison versus
    21     Little and Others, Exhibit Number 1, I'm going
    22      to read into the record a brief testimony from

    23     Debbie Inglis the Tennessee Department of
    24     Corrections general counsel, Question posed to


•   25     her:    One of the physicians which you consulted
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            during the course of the COllDJlittee•s work

            advised the coDDllittee about a number of
     3      different ways to assess an inmate's anesthetic
     4      depth which wouldn't require the use of any
     5      machine; is that correct?
     6                       And her answer was:         A physician

     7      did recoDDllend in response to our question to

     8      give us ways that we could actually sort of
     9      determine at a particular point whether there
    10      was consciousness or not, but those weren't ways
    11      of actively monitoring the anesthetic depth over
    12      the process.


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                             Question:      Okay.    Did the physician
            that told you that those were ways to assess
            anesthetic depth, was he the one that told you
    16      that wasn't -- that that wasn't adequate?
    17                       Answer:     No.    What I'm saying is
    18      the physician was telling us that at a
    19      particular point you could maybe look at -- do a

    20      pinprick or move something on the inmate's foot,
    21      pinch them, and that right tell you at the time
    22      that that inmate was unconscious at this point,
    23      but I mean, I think it goes out saying that

    24      unless you are -- that does not monitor the


•   25      anesthetic depth over the course of the
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            execution.
                             Question:      Did the physician tell

     3      you you couldn't make a second check or third

     4      check or a fourth check?

     5                       Answer:     No.

     6                       Question:      If it was needed?
     7                       Answer:     No.

     a                       Question:      Did the physician tell

     9      the coDD11ittee that there was some limitations on

    10      how often these checks could be provided or

    11      could be conducted?




•
    12                       Answer:     No .
    13                       Question:      So what is the basis of
    14      your statement that these checks could not be

    15      continued throughout the lethal injection

    16      process?

    17                       Answer:     Well just that it wouldn't
    18      be practical as you are carrying out the
    19      execution to have someone standing there

    20      pinching the inmate.         I mean, we didn't think

    21      that would be appropriate, and our experts

    22      didn't indicate that -- you know, that this was
    23      a necessary step.        In any event, these
    24      suggestions were simply in response to our


•   25      question of what could be done to check
                           Vowell & Jennings, Inc. (615) 256-1935              25


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            consciousness.
                                Question:       You said before that
            experts -- that you had experts who told you
     4      that assessing anesthetic depth wasn't

     5      necessary, but those same experts did advise you
     6      of the critical importance of the inmate being
     7      unconscious before the administration of the
     8      second two drugs, did they?
     9                          Answer:       They certainly, yes,

    10      indicated that that was the purpose of the first

    11      drug and that that was important.
    12                          And that completes at this time the


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            findings of fact.
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                                       (QZ)
                                               going to move to the
                                       And first the Court is looking
            at Rule 702, testimony about experts.                If

    16      scientific, technical, or other specialized
    17      knowledge will substantially assist the trier of
    18      fact to understand the evidence or to determine
    19      a fact in issue, a witness qualified as an
    20      expert by knowledge, skill, experience, training

    21      or education, may testify in the form of an

    22      opinion or otherwise.
    23                          Rule 703, basis of opinion
    24      testimony by experts.             The facts or   dat~n     the


•   25      particular case upon which an expert               b~ an
                              Vowell & Jennings, Inc. (615) 256-1935           26


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            opinion or inference may be those perceived by
            or made known to the expert at or before the
     3      hearing.     If of a type reasonably relied upon by
     4      experts in a particular field in forming
     5      opinions or inferences upon the subject, the

     6      facts or data need not be admissible in
     7      evidence.     The Court shall disallow testimony in
     8      the form or opinion or inference if the
     9      underlying facts or data indicate1 lack of
                                                        eo
    10      trustworthiness.
    11                       As for principles of the law from




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    12      Mcpaniel versus CSX Transportation. which is 955
    13      S.W. 2d 257, a 1977 opinion -- Supreme Court
    14      opinion, in general, questions regarding the
    15      admissibility, qualifications, relevancy and
    16      competency of expert testimony are left to the

    17      discretion of the trial court.             The specific

    18      rules of evidence that govern the admissibility
    19      of scientific proof in Tennessee are Tennessee
    20      Rules of Evidence 702 and 703.
    21                       In Tennessee under the recent
    22      rules, a Trial Court must determine whether the
    23      evidence will substantially assist the trier of

    24      fact to determine a fact in issue and whether


•   25      the facts and data underlying the evidence
                           Vowell & Jennings, Inc. (615) 256-1935              27


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            indicate a lack of trustworthiness.
            together necessarily require determination as to
                                                             The rules


     3      the scientific validity or reliability of the

     4      evidence.      Simply put, unless the scientific
     5      evidence is valid, it will not substantially
     6      assist the trier of fact unless underlying facts
     7      and data appear to be trustworthy, but there is
     8      no requirement any rule be generally accepted.
     9      Although we do not expressly adopt -- here the
    10      Court is ref erring to the federal standard in
    11      Daubert, The non-exclusive list of factors to




•
    12      determine reliability are useful in applying our
    13      Rule 702 and 703.        The Tennessee Trial Court may
    14      consider in determining liability:              One, whether
    15      scientific evidence has been testified and the

    16      methodology with which it has been tested.                 Two,
    17      whether the evidence has been subjected to peer
    18      review or publication.          Three, whether a
    19      potential rate of error is known.              Four, whether
    20      as formerly required by Frye the evidence is

    21      general accepted in the scientific community.

    22      And Five, whether the expert's research in the
    23      field has been conducted independent of
    24      litigation .


•   25                       Although the Trial Court must
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            analyze the signs and not merely the
            qualifications, demeanor, or conclusions of
           witnesses, the Court may not weigh or choose
     4     between two legitimate but conflicting
     5      scientific views.        The Court instead must assure
     6      itself that the opinions are based on relevant

     7      scientific methods, processes, and data and not
     8     upon an expert's mere speculation.
     9                 And now the Court will continue with
    10     principals of law from Baze versus Rees, which
    11      is U.S. Supreme Court Case at 553 US35 rendered

    12      in 2008.     The 8th Amendment to the Constitution


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    15
            applicable to the states through the due process
            clause of the 14th Amendment provides that
            excessive bail shall not be required nor
    16      excessive fines imposed, nor cruel or unusual

    17     punishments inflicted.

    18                 We begin with a principle settled by
    19      Gregg versus Georgia that capital punishment is

    20      constitutional.       It necessarily follows that
    21      there must be a means of carrying it out.                Some
    22      risk of pain is inherent in method of execution

    23     no matter how humane.          If only from the prospect

    24     of error in following the required procedure,


•   25      it's clear then that the constitution does not
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            demand the avoidance of all risk of pain in
            carrying out executions.           Our cases; that is,
            those of the U.S. Supreme Court, recognize that
     4      subjecting individuals to a risk of future harm,

     5      not simply actually inflicting pain can qualify
     6      as cruel and unusual punishment.
     7                       To establish that exposure violates
     8      the 8th Amendment, however, the conditions
     9      presenting the risk must be sure or very likely

    10      to cause serious illness and needless suffering
    11      and give rise to sufficiently imminent dangers.
            We have explained that to prevail on such a


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    13      claim, there must be a substantial risk of
    14      serious harm, an objectively intolerable risk of
    15      harm that prevents prison officials from

    16      pleading that they were subjectively blameless

    17      for purposes of the 8th Amendment.              Simply
    18      because an execution method may result in pain
    19      either by accident or is an inescapable
    20      consequence of the death does not establish the
    21      sort of objectively tolerable risk of harm that

    22      qualifies as cruel and unusual.
    23                       Given what our; that is, the U.S.
    24      Supreme Court cases, have said about the nature


•   25      of the risk of harm that is actionable under the
                           Vowell & Jennings, Inc. (615) 256-1935              30


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             8th Amendment, a condemned prisoner cannot

             successfully challenge the State's method of

      3      execution merely by showing a slightly or
      4      marginally safer procedure.                            Instead the
      5      proffered alternatives must effectively address
      6      a substantial risk of serious harm.                                    To qualify,
      7      the alterative procedure must be feasible,

      8      readily implemented and in fact significantly
      9      reduce the substantial risk of severe pain.                                            If
    10       the State refuses to adopt such an alternative
    11       in the face of these documented advantages




•
    12       without legitimate penalogical justification for
    13       justification for adhering to its current method
    14       of execution, then the State's refusal to change
    15       its method can be viewed as cruel and unusual
    16       under the 8th Amendment.
    17                      And now the Court is reading from
    18       Harbison, Sixth Circuit ruling, and the Court is

    19       specifically distinguishing this current case
    20
    21
                             -
             from the Baze ruling and reasoning and from the
            Harbison ruling and reasoning.                                Unlike Baze and
    22      Harbison, there is no agreement in this case
    23       that the level of sodium thiopental in the
    24      protocol was constitutionally acceptable.                                          In


•   25 L_~t=h=e=--~H~a~r~b::;;;;i~s~o~n;_c:_:a=s~e:__-~---=a=n=d:_=t=h=i=s~i=-=s--=a~c=i=-=t=a~t=i=o=n=--=a=n=d=-~~~-
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            it is a principle of law from the Harbison case.
            As in Baze, the inmate in Harbison concedes that
     3      if the protocol were followed perfectly it would

     4      not pose an unconstitutional risk of pain and

     5      argues instead that maladministration of the
     6      sodium thiopental would result in a severe risk
     7      of pain from the subsequent drugs that could go
     8      undetected.      Further -- and this is also from
     9      Harbison, which I distinguish, but I still think

    10      there is some     princip~~ law            here that will
    11      both illuminate the distinguishing character of




•
    12      ~     and Harbison and also will establish some
    13      principles of law.        The District Court first
    14      concluded that the amended protocol was
    15      deficient because it did not provide a proper

    16      procedure for insuring that the inmate was
    17      unconscious before administering the pancuronium
    18      bromide.     The Court noted that other states
    19      required the execution team to determine if the
    20      inmate is still conscious before proceeding with
    21      this step.

    22                       The Tennessee protocol review
    23      committee also have recommended that procedures
    24      be put in place to insure that the inmate was
•   25 I    unconscious at this step.           Possible methods for
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            determining unconscious -- returning
            consciousness included lightly brushing
     3      eyelashes, lifting up an arm or pinching a
     4      nipple.     Despite this recommendation, these
     5      safeguards were not adopted in the amended

     6      protocol.      Instead the prison warden who was in
     7      the room with the inmate and the executioners
     8      who would be able to see the inmate through a
     9      one-way glass window monitored the prisoner
    10      visually during the execution process, which the
    11      State believed to be sufficient safeguard.




•
    12                       The District Court in Harbison
    13      disagreed, holding that the failure to check for
    14      consciousness greatly enhanced the risk the
    15      inmate would suffer unnecessary pain.               Baze,
    16      however, rejected the necessity of the

    17      procedures relied upon by the District Court.
    18      It noted at the outset that because a proper
    19      dose of sodium thiopental would render any check
    20      for consciousness unnecessary.            There was no
    21      such agreement, however, in this case, as there
    22      was in Baze and in Harbison .that the protocol as
    23      written if properly administered is
    24      constitutionally acceptable .


•   25                       Then I'm going back here to Baze
                           Vowell & Jennings, Inc. (615) 256-1935              33


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             for further principles of law and further
             analysis of this particular case.             And this is

     3       from the plurality decision in           u.s.~preme

     4       court case in      ~e; ~he 1i!~~:!it~es                  that
     5       rough and ready tests for         checking~
     6       consciousness; calling the inmate's name,

     7       brushing his eyelashes or presenting him with
     8       strong noxious odors could materially decrease
     9       the risk of administering the second and third
    10       drugs before the sodium thiopental has taken
                       u                                              u
    11       effect.       Again -- and this is from Baze, the




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    12       risk at issue is already attenuated, given the
    13       steps Kentucky has taken to insure the proper
    14       administration of the first          drug.k'"~
    15                 And here this Court notes in Baze and in
    16       Harbison, the parties had agreed that if
    17       properly administered, the level of sodium

    18       thiopental was constitutionally a;;:,eftable.
    19       This case, this      West~nd Irick)c~ differs
    20       because there is no such agreement here and the
    21       Court must therefore continue on and -- continue
    22       on as I have done earlier in this decision to
    23       analyze other factors and not stop at the Baze
    24   i and Harbison analysis.

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         '
                               I am going back now to the issues
                             Vowell & Jennings, Inc. (615) 256-1935            34


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            that the Court must decide in the case, whether
            the current amount and concentration of sodium

     3      thiopental mandated by Tennessee's 2007 lethal
     4      injection protocol are insufficient to insure
     5      unconsciousness so as to create an objectively
     6      intolerable risk of severe suffering or pain
     7      during the execution.
     8                 This Court finds that the current amount
     9      and concentration of sodium thiopental are
    10      insufficient to insure unconsciousness because
    11      the body's ability to and the body's actual use




•
    12      of this drug depends on so many variables, and
    13      both medical experts agree that that was the
    14      case.
    15                 And Number Two is a factual matter.              The
    16      Court is to decide at what level sodium
    17      thiopental -- at what level is the sodium
    18      thiopental sufficient to insure unconsciousness
    19      so as to negate any objectively intolerable risk

    20      of severe suffering or pain during the
    21      execution.      And I should go back to issue
    22      Number 1, and say the objectively intolerable
    23      risk of severe pain -- suffering or pain during
    24      the execution is the injection of the second


•   25      drug, the paralyzing drug after the first
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            inadequate and inefficient drug has been
            injected; that is, to do so so quickly and to do
            at all.

     4                 As a factual matter -- going on now to
     5      issue Number 2, at what level is this particular
     6      drug; that is, Number 1 -- sufficient to insure
     7      unconsciousness.        And although Dr. Li testified
     8      that 5 grams of sodium thiopental is fatal -- or
     9      should be fatal, Dr. Li also agreed with

    10      Dr. Lubarsky that the amount of sodium
    11      thiopental which will -- can be -- can provide
    12      an assurance that a particular level of this


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            drug will be effective in the body depends on
            many, many variables.          And so although this
            Court listened very closely to the experts'

    16      opinions about this particular issue, this Court
    17      is unable to find what level of sodium
    18      thiopental is sufficient to insure
    19      unconsciousness because I don't think there is
    20      one, given the medical proof that the Court is

    21      relying on; given the medical proof in the case.

    22                 Number 3, is there a feasible and
    23      readily available alternative procedure which
    24      could be supplied at execution to insure


•   25      unconsciousness and negate any objectively
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            intolerable risk of severe suffering or pain?
            It appears to this Court that there are feasible
     3      and readily available alternative procedures
     4      which could be supplied at execution to insure

     5      unconsciousness and negate any objectively
     6      intolerable risk of severe suffering or pain.
     7      This Court should not say or find which of those
     8      it would recormnend, but I think the Court's
     9      finding of fact regarding the ways -- the
    10      various ways that unconsciousness can be checked

    11      should be left to the State.




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    12                       But the proof in the Harbison case
    13      that was filed in this case, the -- the facts
    14      that were gleaned from Mr. Voorhies' testimony
    15      in which -- and from other state protocols in
    16      which checks for consciousness were overt and

    17      explicit and intentional indicate that there are
    18      various ways to go -- to do that and it should
    19      be done.
    20                 Number 4, did the State refuse to adopt
    21      this alternative and without justification

    22      adhere to its current method?            Well, the State

    23      decided that its protocol of injecting sodium
    24      thiopental in the measure that its protocol


•   25      requires; that is, 5 grams, did not require
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            checking for consciousness or unconsciousness,
            and given the other protocols that have been
            filed in with Court, given the approach taken

     4      by -- taken in Ohio as testified to by
     5      Mr. Voorhies, it does seem that the State should
     6      have figured out some way -- some simple way,
     7      should have adopted one of the simple ways which
     8      appears to be used in other states to check on,
     9      to make sure that the prisoner was unconscious,
    10      and this Court cannot find a justification for

    11      not checking on consciousness -- on
    12      unconsciousness.        I just don't think there is a


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            justification that this Court can understand.


            Number 2.
                       And back just for a moment to Issue
                           I think the Court should say that it
    16      cannot state there is no level of sodium

    17      thiopental sufficient to insure unconsciousness.
    18      This Court does not find there is no level
    19      whatsoever, but this Court does not know what it
    20      would be.
    21                 And Lawyers is there anything else I

    22      ought to do?       Is there anything -- any
    23      housekeeping issue that should be addressed that
    24      I have not addressed?


•   25                       MR. KISSINGER:        Not that the
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            plaintiffs are aware of, Your Honor.
                             MR. HUDSON:       Nothing from the
     3      defendants, Your Honor.
     4                       THE COURT:      Okay.     Lawyers, I will
     5      be here on Monday and Tuesday to sign anything
     6      that I need to sign.         Too late for me to sign

     7      anything today, but like I said I will be here

     8      Monday and Tuesday, and         appreciate~patience.
     9      We are now adjourned.
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     2
                      COURT REPORTER'S CERTIFICATE

         STATE OF TENNESSEE:

     3   COUNTY OF DAVIDSON:

     4   I,   LEILA ZUPKUS, Court Reporter and Notary

     5   Public, Davidson County, Tennessee, CERTIFY:

     6   1.   The foregoing proceeding was taken before me

     7   at the time and place stated in the foregoing

     8   styled cause with the appearances as noted;

     9   2. Being a Court Reporter, I          then reported the

    10   proceeding in Stenotype to the best of my skill

    11   and ability, and the foregoing pages contain a



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    13
    14
         full,


         3.    I
                   true and correct transcript of my said

         Stenotype notes then and there taken;
                   am not in the employ of and am not related

    15   to any of the parties or their counsel, and               I

    16   have no interest in the matter involved.

    17                 WITNESS MY SIGNATURE, this, the

    18    22nd day of November, 2010.

    19

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    24
         LEILA ZUPKUS NOLAN, TLCR
    25   My commission expires: June 30, 2012
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